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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF FLORIDA
                                CASE NO.

 DARREN L. PERKINS,

       Plaintiff,

 v.

 FEDERAL BOND &
 COLLECTION SERVICES, INC.,

      Defendant.
 _________________________________________/

                                   COMPLAINT
                                  JURY DEMAND

       1.     Plaintiff alleges violation of the Fair Debt Collection Practices Act, 15

 U.S.C. §1692 et seq. (“FDCPA”) and the Florida Consumer Collection Practices

 Act, Fla. Stat. §559.55 et seq. (“FCCPA”).

                          JURISDICTION AND VENUE

       2.     This Court has jurisdiction under 28 U.S.C. §§1331, 1337, 1367 and

 15 U.S.C. §1692k. Venue in this District is proper because Plaintiff resides here

 and Defendant placed telephone calls into this District.

                                      PARTIES

       3.     Plaintiff, DARREN L. PERKINS, is a natural person, and citizen of

 the State of Florida, residing in Broward County, Florida.
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        4.    Defendant, FEDERAL BOND & COLLECTION SERVICE, INC., is

 a professional corporation and citizen of the State of Pennsylvania with its

 principal place of business at Suite 120, 2200 Byberry Road, Hatboro,

 Pennsylvania 19040.

        5.    Defendant regularly uses the mail and telephone in a business the

 principal purpose of which is the collection of debts.

        6.    Defendant regularly collects or attempts to collect debts for other

 parties.

        7.    Defendant is a “debt collector” as defined in the FDCPA.

        8.    Defendant was acting as a debt collector with respect to the collection

 of Plaintiff’s alleged debt.

                                FACTUAL ALLEGATIONS

        9.    Defendant sought to collect from Plaintiff an alleged debt arising from

 transactions incurred for personal, family or household purposes.

        10.   Defendant left the following messages on Plaintiff’s voice mail on his

 residential telephone or about the dates stated:

        November 18, 2009 at 10:47 AM
        This message is for Darren, Darren Perkins. This is the office of Adrienne
        Layton. Call me at 1-866-594-8641. Call me here at my office. Darren, this
        is Adrienne.

        11.   Defendant left similar or identical messages on other occasions.

 (Collectively, “the telephone messages”).

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       12.    The messages are “communications” as defined by 15 U.S.C.

 §1692a(2). See Berg v. Merchs. Ass'n Collection Div., Case No. 08-60660-Civ-

 Dimitrouleas/Rosenbaum, 2008 U.S. Dist. LEXIS 94023 (S.D. Fla. Oct. 31, 2008).

       13.    Defendant failed to inform Plaintiff in the messages that the

 communication was from a debt collector and failed to disclose the purpose of

 Defendant’s messages and failed to disclose Defendant’s name.

                            COUNT I
         FAILURE TO DISCLOSE STATUS AS DEBT COLLECTOR

       14.    Plaintiff incorporates Paragraphs 1 through 13.

       15.    Defendant failed to disclose in the telephone messages that it is a debt

 collector in violation of 15 U.S.C. §1692e(11). See Foti v. NCO Fin. Sys., 424 F.

 Supp. 2d 643, 646 (D.N.Y. 2006) and Belin v. Litton Loan Servicing, 2006 U.S.

 Dist. LEXIS 47953 (M. D. Fla. 2006) and Leyse v. Corporate Collection Servs.,

 2006 U.S. Dist. LEXIS 67719 (D.N.Y. 2006).

       WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

 Plaintiff and against Defendant for:

              a.    Damages;

              b.    Attorney’s fees, litigation expenses and costs of suit; and

              c.    Such other or further relief as the Court deems proper.

                         COUNT II
     FAILURE TO MAKE MEANINGFUL DISCLOSURE OF IDENTITY


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       16.    Plaintiff incorporates Paragraphs 1 through 13.

       17.    Defendant placed telephone calls to Plaintiff without making

 meaningful disclosure of its identity when it failed to disclose its name and the

 purpose of Defendant’s communication in the telephone messages in violation of

 15 U.S.C §1692d(6). See Valencia v The Affiliated Group, Inc., Case No. 07-

 61381-Civ-Marra/Johnson, 2008 U. S. Dist. LEXIS 73008, (S.D.Fla., September

 23, 2008); Wright v. Credit Bureau of Georgia, Inc., 548 F. Supp. 591, 593 (D. Ga.

 1982); and Hosseinzadeh v. M.R.S. Assocs., 387 F. Supp. 2d 1104 (D. Cal. 2005).

       WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

 Plaintiff and against Defendant for:

              a.     Damages;

              b.     Attorney’s fees, litigation expenses and costs of suit; and

              c.     Such other or further relief as the Court deems proper.

                         COUNT III
     ILLEGAL COLLECTION TECHNIQUES IN VIOLATION OF THE
        FLORIDA CONSUMER COLLECTION PRACTICES ACT

       18.    Plaintiff incorporates Paragraphs 1 through 13.

       19.    Defendant asserted the right to collect a debt by leaving telephone

 messages for Plaintiff without disclosing its name and that it is a debt collector and

 the purpose of its communications when Defendant knew it did not have a legal

 right to use such collection techniques in violation of Fla. Stat. §559.72(9).



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       WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

 Plaintiff and against Defendant for:

              a.    Damages;

              b.    Attorney’s fees, litigation expenses and costs of suit;

              c.    declaring that Defendant’s practices violate the FCCPA;

              d.    permanently injoining Defendant from engaging in the

              complained of practices; and

              e.    Such other or further relief as the Court deems proper.

                         COUNT IV
      HARASSMENT IN VIOLATION OF THE FLORIDA CONSUMER
                COLLECTION PRACTICES ACT

       20.    Plaintiff incorporates Paragraphs 1 through 13.

       21.    By failing to disclose its name, that it is a debt collector and the

 purpose of its communication, Defendant willfully engaged in conduct the natural

 consequence of which is to harass in violation of Fla. Stat. §559.72(7).

       WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

 Plaintiff and against Defendant for:

              a.    Damages;

              b.    Attorney’s fees, litigation expenses and costs of suit;

              c.    declaring that Defendant’s practices violate the FCCPA;




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              d.    permanently injoining Defendant from engaging in the

              complained of practices; and

              e.    Such other or further relief as the Court deems proper.

                                      JURY DEMAND

        Plaintiff demands trial by jury.

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